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4 | JOHN S. LEVITT, ESQ. - State Bar No. 110824 CLERK. US. DISTRICT COURT RAL DISTRICT OF CALE EE ry
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wo eAttorney: for Debtor, the Roman Catholic Church of the fe Closed
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QUARLES & BRADY
STREICH LANG LLP
ATTORNEYS AT LAW

 

THE ROMAN CATHOLIC CHURCH OF
DIOCESE OF TUCSON aka THE DIOCESE
OF TUCSON, an Arizona corporation sole,

Debtor.

 

JOHN MM DOE, an individual,
Plaintiff,
VS.

DOE 1; DOE 2; DOE 3; DOE 4; DOE 5; and
DOES 6 through 100, inclusive,

Defendants.

 

 

Case No. CV04-10344 SJO JTLX)

THIS CONSTITUTES NOTICE OF ENTRY
AS REQUIRED BY FRCP RULE 77(d).

STIPULATION TO SEVER CAUSES OF ACTION AND TRANSFER

The Roman Catholic Church of the Diocese of Tucson aka the Diocese of

Tucson (“Tucson Diocese”), an Arizona corporation sole, the debtor and debtor in

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possession in the above captioned Chapter 11 reorganization case presently pending
before the United States Bankruptcy Court for the District of Arizona undér Case
No. 4-04-bk-04721-JMM (the “Reorganization Case”), a defendant i in the above
captioned removed civil proceeding (this “Case”), and the removing party; the
Defendant parishes located within the Tucson Diocese (“Arizona parishes”); and
John MM Doe, the Plaintiff in this Case, subject to court approval and the terms of
this agreement, hereby stipulate to: (1) sever the claims pending against the Tucson
Diocese and against Arizona parishes within the Tucson Diocese from the claims
against other defendants pursuant to Fed.R.Civ. P, 21; and (2) transfer the claims
pending against the Tucson Diocese and Arizona parishes to the United States
District Court for the District of Arizona for referral to the United States
Barikruptcy Court of the District of Arizona pursuant to 28 U.S.C. § 1412.
Plaintiff does not waive any rights with respect to his right to a jury trial under law.
I. RECITALS

1. Plaintiff filed this Case in the Superior Court of California on October
6, 2003. In the suit, the Plaintiff alleges that he is the victim of childhood sexual
abuse by a priest of the Roman Catholic Church who ministered at parishes under
the supervision of the Roman Catholic Church of the Diocese of Los Angeles (the
“Los Angeles Archdiocese”) and under the Tucson Diocese during the 1980’s.

2. Plaintiff asserts that his action is timely under the California Code of
Civil Procedure 340.01, a statute which revived the statute of limitations for actions
based upon personal injuries resulting from childhood sexual abuse.

3, As with more than 500 other claims pending against the Los Angeles
Archdiocese, Plaintiffs action was part of the Judicial Council Coordinated
Proceeding, JCCP Number 4286 (the “Coordination Proceeding”).

4. The Tucson Diocese is the debtor and debtor-in-possession in the
Reorganization Case which was commenced by filing a voluntary petition on

September 20, 2004 (the “Petition Date”). The Tucson Diocese filed the

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1 | Reorganization Case in order to reorganize its financial affairs pursuant to a plan of
2 | reorganization that will,, among other things, fairly, justly, and equitably
3 | compensate the victims of sexual abuse by clergy or others associated with the
Tucson Diocese, while allowing the Tucson Diocese to continue its ministry and
mission and to attempt to finally bring healing to victims, parishioners and others
affected by the past acts of sexual abuse committed by clergy and others.

5. On the Petition Date, the Tucson Diocese filed a Plan of

Reorganization (the “Plan”) and its Disclosure Statement (the “Disclosure

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Statement”) in order to compensate victims of sexual abuse by providing, inter alia,
10 | for the separate classification of “Tort Claims,” defined in the Plan to be claims for
11 | personal injury, including claims for emotional distress, arising from acts of sexual
12 | abuse committed by clergy or other persons associated with Tucson Diocese or any
13 | parish within Tucson Diocese. Pursuant to the Plan, a Settlement Trust and a
14 | Litigation Trust will be established. All Tort Claimants will have their Claims
15 | treated and resolved under either the Settlement Trust or the Litigation Trust. The
16 | Plan contemplates that Tort Claimants will participate in the Settlement Trust
17 | unless they opt out and instead choose the Litigation Trust. Anyone opting into the
18 | Litigation Trust will have the right to have his or her claim determined by a jury.
19 | This Case, to the extent it alleges claims against the Tucson Diocese, is a Tort
20 | Claim that the Tucson Diocese contemplates treating under the Plan, either through
21 | the Litigation Trust or the Settlement Trust.

22 6. | The Tucson Diocese and the Official Committee of Tort Claimants
23 | appointed in this Reorganization Case are endeavoring to negotiate a consensual
24 | confirmation of the Plan.

25 7. On December 20, 2004, the Tucson Diocese filed a notice of removal
26 | of this Case with this Court pursuant to 28 U.S.C. § 1452 and Fed. R. Bankr. P.
27 | 9027. The Tucson Diocese desires that the venue for this Case as it relates to the

28 | claims against the Tucson Diocese and Arizona parishes be transferred to the

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United States District Court for the District of Arizona for referral to the United

States Bankruptcy Court of the District of Arizona pursuant to 28 U.S.C. § 1412, as
with the other 23 personal injury tort actions pending against the Tucson Dioiese.

8. The Plaintiff is willing to stipulate to the transfer of his claims against
the Tucson Diocese and the Arizona parishes if and only if: (a) his right to seek a
remand back to California State Court is preserved and unaffected; and, (b) the
change of venue does not prejudice in any way the California statue of limitations’
applicability to his claims. But the Plaintiff does object to his claims against the
Los Angeles Archdiocese being separated from the Coordination Proceeding and
believes those claims should be remanded to California State Court.

The Tucson Diocese, Arizona parishes and the Plaintiff therefore agree as

follows:
1. AGREEMENT
1. The foregoing recitals are hereby incorporated by reference into the

Agreement provisions of this stipulation as though fully set forth in the Agreement.

2. Agreement to Sever Claims. The Tucson Diocese, Arizona parishes
and the Plaintiff hereby agree, pursuant to Fed. R. Bankr. P. 7021 and Fed. R. Civ.
P. 21, to sever the Plaintiff's claims of liability against the Tucson Diocese, bishops
of the Tucson Diocese, and Arizona parishes (the “Tucson Claims”) from the
Plaintiff's claims against the Los Angeles Archdiocese and other defendants (the
“L.A. Claims”).

3. Agreement to Transfer Venue. The Tucson Diocese, Arizona parishes
and the Plaintiff hereby agree, pursuant to 28 U.S.C. § 1412, to transfer venue as to
the Tucson Claims to the United States District Court for the District of Arizona for
referral to the United States Bankruptcy Court of the District of Arizona pursuant to

 

' The Tucson Diocese is filing similar stipulations in each of the removed actions
pending in California.

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28 U.S.C. § 1412. Plaintiff does not waive any rights with respect to his right to a

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4. Agreements and Reservations of Rights Regarding Statue of
Limitations. The Tucson Diocese and Arizona parishes stipulate that the
applicability of the Cal. Code Civ. P. 340.01 statute of limitations on the Tucson
Claims remains unaltered by virtue of the change of venue and/or the removal to
the Federal Court. But the Tucson Diocese and Arizona parishes hereby reserve all
of their affirmative defenses to the Plaintiff's claims as those defenses existed prior
to removal and transfer of venue, including, but not limited to, statute of limitations
related defenses.

5. Agreements and Reservations of Rights Regarding Removal
Jurisdiction. The Plaintiff stipulates that he will waive the procedural requirements
of 28 U.S.C. § 1452 and Fed. R. Bankr. P. 9027(a) as to removal of the Tucson
Claims. But the Plaintiff hereby expressly reserves the right to seek remand for any
other reason, including but not limited to “any equitable reason” pursuant to 28
U.S.C. § 1452. For purposes of considering the timeliness of a motion for remand,
the Tucson Diocese, Arizona parishes and the Plaintiff stipulate that the motion
shall be deemed for all purposes as filed on the date that this Case was removed
from the California State Court. The Tucson Diocese hereby acknowledges and
stipulates that the sole basis for Federal Court jurisdiction in this Case is that the
Tucson Claims “related to” its Reorganization Case under 28 U.S.C. §1334. The
Plaintiff is not waiving the procedural requirements of 28 U.S.C. § 1452 and Fed.
R. Bankr. P. 9027(a) as to removal of the L.A. Claims and asserts that the L.A.
Claims should be remanded to California State Court for participation in the
Coordination Proceedings.

6. This Stipulation may be executed in several counterparts, including
facsimile signatures each of which will be a duplicate original and all of which will

constitute one and the same agreement.

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l 7. This Stipulation is the product of negotiations between the parties and
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2 | is not to be interpreted more strongly in favor of one party or the other. in the

3 | interpretation or enforcement thereof. “f

4} Dated: oY, 2005 SOLTMAN, LEVITT S
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Susan. G. Boswell, Esq.

   
 

 

 

 

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2 eS Winn Loe Dee MLW J
23 |” John Manly Cowell E. Rothschild
Michael McGrath

Attorneys for Plaintiff
Attorneys for Arizona Parishes

SO ORDERED:

7 SOT ayer

38 United States@istrict Judge

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STATE OF CALIFORNIA, COUNTY OF VENTURA: ,

I am employed in the County of Los Angeles, State of California.
I am over the age of 18 and am not a party to the within action; my
business address is 2535 Townsgate Road, Suite 307, Westlake Vilage, CA
91361. Cj

ay

On March , 2005, I served the following document(s) described as
STIPULATION TO SHVER CAUSES OF ACTION AND TRANSFER VENUE (CV04-10344 (JTLx)
on all interested parties to this action, as follows:

® by placing OU the original ® a true copy thereof enclosed in sealed
envelopes addressed as follows:

SEE ATTACHED MAILING LIST

XM - BY MAIL: By placing a true copy thereof in a sealed envelope
addressed as above, and placing it for collection and mailing
following ordinary business practices. I am readily familiar
with Soltman, Levitt & Flaherty’s practice of collection and
processing correspondence for mailing. Under that practice it
would be deposited with U.S. postal service on that same day with
postage thereon fully prepaid at Westlake Village, California, in
the ordinary course of business.

 

On BY OVERNIGHT COURIER: I caused the above-referenced document (s)
to be delivered to for delivery to the
above address(es).

7 BY FAX: I caused the above-referenced document to be transmitted
via facsimile from Fax No. (805) 497-1147 to Fax No.
directed to . The facsimile machine I used complies

with Rule 2003(3) and no error was reported by the machine.
Pursuant to Rule 2005(1), I caused the machine to print a record
of the transmission, a copy of which is attached to this
declaration.

0 BY PERSONAL SERVICE: I caused such envelope to be delivered by
hand to the addressee(s).

C [State] I declare under penalty of perjury under the laws
of the State of California that the foregoing is
true and correct.

x [Federal] I declare that I am employed in the office of a member
of the bar of this court at whose direction the service
was made.

Executed on March / , 2005 at eC?
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“PAMELA ADLER

 

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